         CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 1 of 24




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 EQUAL EMPLOYMENT                                               Civil Action No. 0:22-cv-777
 OPPORTUNITY COMMISSION,

                 Plaintiff,

 KAYLAH VOGT,

                 Plaintiff-Intervenor,
         v.                                                  ANSWER TO INTERVENOR
                                                                        COMPLAINT
 NORTH MEMORIAL HEALTH,

                 Defendant.



        Defendant North Memorial Health (“North Memorial”), for its Answer, Defenses, and

Affirmative Defenses to Plaintiff-Intervenor’s Complaint, states and alleges as follows. North

Memorial denies each and every allegation contained in the Complaint unless hereafter admitted,

qualified, or otherwise answered.

        1.      Ms. Vogt incorporates the facts and allegations in the EEOC’s Complaint in this

matter (Doc. 1) as if fully set forth herein.

        ANSWER:         North Memorial incorporates its responses and affirmative defenses

contained in its Answer (Doc. 6) to the EEOC’s Complaint as if fully set forth herein. North

Memorial denies any remaining allegations in paragraph 1.


                                    JURISDICTION AND VENUE

        2.      Ms. Vogt bases her claims, in part, on the Americans with Disabilities Act of 1990

(“ADA”), as amended by the Americans with Disabilities Amendments Act of 2008 (“ADAAA”),
           CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 2 of 24




42 U.S.C. § 12117 et seq., and therefore this Court has subject matter jurisdiction pursuant to 28

U.S.C. § 1331 and 1343.

          ANSWER:      The allegations in paragraph 2 purport to be legal conclusions that require

no affirmative response. Vogt has no legal claim against North Memorial.


          3.   Supplemental jurisdiction pursuant to 28 U.S.C. § 1367 is invoked for Ms. Vogt’s

state law claims, as these claims form part of the same case and controversy as Ms. Vogt’s federal

claims.

          ANSWER:      The allegations in paragraph 3 purport to be legal conclusions that require

no affirmative response. Vogt has no legal claim against North Memorial.


          4.   Venue is this Court is appropriate pursuant to 28 U.S.C. § 1391, as the unlawful

practices and acts described herein occurred within this State and District.

          ANSWER:      The allegations in paragraph 4 purport to be legal conclusions that require

no affirmative response. Vogt has no legal claim against North Memorial.


          5.   Ms. Vogt filed a charge of discrimination with the EEOC on August 21, 2020. On

September 27, 2021, the EEOC issued a finding of probable cause that Defendant discriminated

against her in violation of the ADA. On April 1, 2022, the EEOC commenced this lawsuit.

          ANSWER:      Answering paragraph 5, North Memorial acknowledges that Vogt filed a

Charge with the EEOC, which initially filed the pending lawsuit. North Memorial answered that

Charge and the EEOC’s Complaint—denying all allegations of wrongdoing and any purported

legal claim. North Memorial continues to deny the merits of that Charge, the EEOC’s Complaint,

and Vogt’s Intervenor Complaint—including all allegations of wrongdoing—and denies that Vogt

was an applicant or individual entitled to relief under the ADA.



                                                 2
         CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 3 of 24




       North Memorial also acknowledges that the EEOC issued a Letter of Determination on the

date alleged but denies all other allegations, including the basis and propriety of the EEOC’s

findings and the existence of any “discriminatory practices” by North Memorial. North Memorial

denied and continues to deny the alleged probable cause finding because it did not discriminate

against Vogt. North Memorial declined to engage in informal methods of conciliation because the

EEOC’s probable cause finding was factually and legally incorrect, because North Memorial did

not discriminate against Vogt, and because neither the EEOC nor Vogt are entitled to any relief

whatsoever.


                                           PARTIES
       6.      Kaylah Vogt is an individual person who, at times relevant to this Complaint, was

a “qualified individual” under the ADA. Ms. Vogt is currently a resident and domiciliary of the

State of Minnesota.

       ANSWER:        The allegations in paragraph 6 purport to state legal conclusions that do not

require a response. North Memorial is without information to admit or deny the allegations about

Vogt’s residence. North Memorial denies any remaining allegations in paragraph 6, including that

Vogt is a “qualified individual” entitled to relief under the ADA.


       7.      At all times relevant to this Complaint, Defendant North Memorial Health is and

has been a Minnesota corporation doing business in the State of Minnesota. At all times relevant

herein, Defendant has continuously had at least fifteen (15) employees and has been a covered

“employer” as that term is defined under the ADA and MHRA.

       ANSWER:        Answering paragraph 7, North Memorial admits that it operates within the

State of Minnesota and that it has had at least 15 employees at all times over the last two-plus

years. Any remaining allegations in paragraph 7 are denied as stated.


                                                3
         CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 4 of 24




       8.      At all times relevant to this Complaint, all individual managers, supervisors, and

human resource personnel referred to herein acted with actual authority from Defendant North

Memorial Health and as agents of the same.

       ANSWER:         The allegations in paragraph 8 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


                                     FACTUAL BACKGROUND

       9.      Defendant North Memorial Health is a health care provider that operates several

hospitals and clinics in the greater Twin Cities area.

       ANSWER:         Answering paragraph 9, North Memorial denies the allegations as stated.

North Memorial clarifies, however, that it provides a range of important health care services

throughout the Twin Cities metro area and outstate regions.


       10.     In July 2020, a job vacancy arose at Defendant for the position of greeter.

       ANSWER:         North Memorial denies the allegations in paragraph 10 as stated. In July

2020—a critical phase of the COVID-19 pandemic before vaccines were available—North

Memorial was engaged with Favorite Healthcare Staffing (“Favorite”) to supply temporary

contract workers who were employed by Favorite to fill a number of temporary roles. One of these

temporary roles was a Door Greeter/Escort, specifically designed to be a front-line role interacting

with COVID-possible individuals at North Memorial’s Level 1 Trauma Hospital in Robbinsdale,

MN. Favorite assisted North Memorial to fill these Door Greeter/Escort roles on an urgent and

weekly basis. The Door Greeter/Escort role was initially created as a direct result of Minnesota

Governor Walz’s orders and rules from the Minnesota Department of Health regarding COVID

screening and requiring active attestation of visitors to any facility.


                                                   4
            CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 5 of 24




       11.      The job description for the greeter position included greeting visitors, applying

COVID-19 masking standards and policies, giving directions, and keeping the welcome area clean

and tidy.

       ANSWER:         North Memorial denies the allegations in paragraph 11 as stated. Vogt is

alleging excerpts of the role description and, therefore, purposefully describing the Greeter/Escort

role out of context. The relevant role description speaks for itself. North Memorial affirmatively

states that (as relevant here) given the state of the COVID-19 pandemic at the time, the Door

Greeters/Escorts were also required to have strong listening and verbal communication skills while

interacting with individuals experiencing stress/grief and the ability to verbally communicate with

customers and team members while maintaining proper safety requirements for team members and

customers.

       The Door Greeters/Escorts were stationed in either the emergency department or atrium of

the hospital and needed to communicate quickly and succinctly with visitors regarding visitor

policy, assess visitors’ understanding and compliance, and troubleshoot—which communication

was significantly hindered by COVID-necessitated face masks. Especially in the atrium, a small

area that all non-team members pass through, a lack of quick communication when screening

visitors for COVID symptoms would create a bottleneck of foot traffic and challenge the ability

of team members and visitors to appropriately space themselves, thereby potentially creating a

health and safety risk to North Memorial team members, patients, and visitors. On any given day,

an average of 2,000 team members and two hundred to several hundred visitors would pass through

the hospital entrances and need to be screened. In addition to team members, Door Greeters/Escorts

therefore interacted with a significant volume of people who entered North Memorial’s hospital:




                                                 5
CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 6 of 24




 •   Vendors. Door Greeters/Escorts communicated with and screened vendors who

     visited the hospital and may have needed directions throughout the facility. They

     also assisted with about 30 to 40 deliveries a day from vendors or family

     members/friends bringing deliveries to patients at the hospital (flowers, balloons,

     books, etc.). In the event of short-staffing at North Memorial’s hospital gift shop,

     Door Greeters/Escorts would also assist with gift shop deliveries.

 •   Visitors. Greeters/Escorts communicated with and screened visitors, enforced the

     then-current visitor policy, and sent visitors to the information desk or security desk

     for a visitor identification sticker. Sometimes, visitors would become upset when

     they were not granted access to the hospital due to COVID restrictions—in more

     than one instance threatening violence. Door Greeters/Escorts had to communicate

     quickly with Security to de-escalate these situations. Effective and timely

     communication with Security was of paramount importance under these

     circumstances.

 •   Patients. Patients may arrive to be seen in the Emergency Department or for

     hospital appointments such as surgeries, heart and vascular care, therapy, or at the

     family birth center. Door Greeters/Escorts were often required to communicate

     with and assist patients who came to the hospital in a wheelchair, or if patients

     needed such assistance if they were dropped off at the hospital for an appointment

     and experiencing an emergency while unable to walk. Consequently, timely and

     effective communication was critical and any delays or breakdowns would have

     created very serious health and safety consequences and pose a direct threat to the

     health or safety of those entrusting North Memorial with their care.




                                       6
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 7 of 24




             •   Other Customers. Door Greeters/Escorts also assisted other individuals who visited

                 North Memorial’s hospital to get medical records, get labs drawn, or pick up

                 prescriptions at the pharmacy.

                    o While the pharmacy was doing contactless pick-up, Door Greeters/Escorts

                        had to communicate with and direct those customers back to their vehicle

                        and then to a particular parking area, giving them information to contact the

                        pharmacy so that the staff can then deliver prescriptions to the customer’s

                        vehicle.

                    o A fair number of individuals also arrived at North Memorial inquiring about

                        getting tested for COVID. Door Greeters/Escorts would then communicate

                        with, answer questions, and direct those individuals to the appropriate

                        testing area.


       12.       Defendant provided greeters with a script from which they would read which

included questions that the greeters would ask visitors/patients regarding COVID-19 symptoms.

       ANSWER:          North Memorial denies the allegations in paragraph 12 as stated and

incorporates here its response to paragraph 11.


       13.       Greeters also had access to a corresponding poster board with images showing

COVID-19 symptoms which they could point to in order to ask if individuals had experienced any

of the symptoms.

       ANSWER:          North Memorial denies the allegations in paragraph 13 as stated and

incorporates here its response to paragraph 11.




                                                  7
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 8 of 24




       14.     Defendant had authority and control over the greeter’s work. For instance,

Defendant:

             a. Determined the greeter’s schedule;

             b. Directed and assigned the greeter’s work and day-to-day duties;

             c. Provided the workplace and materials to perform the greeter job;

             d. Assigned where the greeter performed the job;

             e. Supervised how the greeter performed the job; and

             f. Controlled the decision to hire, fire, and discipline the greeter.

       ANSWER:         North Memorial denies the allegations in paragraph 14 as stated. North

Memorial affirmatively states that Favorite employed the Door Greeters/Escorts, scheduled them,

tracked and monitored discipline, and led the interview and hiring process based on the role

description provided by North Memorial.


       15.     Ms. Vogt is a qualified individual with a disability under the ADA and MHRA.

       ANSWER:         The allegations in paragraph 15 purport to state legal conclusions that do

not require a response.


       16.     Ms. Vogt is deaf and is substantially limited in the major life activity of hearing.

See 42 U.S.C. § 12102(2)(a).

       ANSWER:         The allegations in paragraph 16 purport to state legal conclusions that do

not require a response. North Memorial is also without information to admit or deny the allegations

about Vogt’s ability to hear. North Memorial denies any remaining allegations in paragraph 16.


       17.     Ms. Vogt was qualified for the greeter position and could perform the essential

functions of the job with or without an accommodation.



                                                  8
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 9 of 24




       ANSWER:        North Memorial is without information to admit or deny the allegations in

paragraph 17 and therefore denies the same, including all allegations that it was aware of the

purported facts alleged by Vogt regarding her hearing ability/impairment at the time that North

Memorial was communicating with Favorite in July 2020 regarding an unnamed individual who

was allegedly “hard of hearing.”

       North Memorial affirmatively alleges that it only knew from Favorite that the unnamed

individual was hard of hearing and “communicate[d] via phone and stated that with people who

have masks she uses signs to help communicate.” North Memorial denies any remaining

allegations in paragraph 17.


       18.     Ms. Vogt wears hearing aids. With the hearing aids, Ms. Vogt can hear people

speaking without any difficulty. Ms. Vogt can communicate both verbally and through the use of

American Sign Language (ASL).

       ANSWER:        North Memorial is without information to admit or deny the allegations in

paragraph 18 and therefore denies the same, including all allegations that it was aware of the

purported facts alleged in paragraph 18 at the time that it was communicating with Favorite in July

2020 regarding an unnamed individual who was allegedly “hard of hearing.”

       North Memorial affirmatively alleges that it only knew from Favorite that the unnamed

individual was hard of hearing and “communicate[d] via phone and stated that with people who

have masks she uses signs to help communicate.” North Memorial denies any remaining

allegations in paragraph 18.


       19.     On or about July 21, 2020, Ms. Vogt applied for the greeter position at Defendant.

       ANSWER:        North Memorial denies the allegations in paragraph 19. In July 2020—a

critical phase of the COVID-19 pandemic before vaccines were available—North Memorial was


                                                9
         CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 10 of 24




engaged with Favorite to supply temporary contract workers who were employed by Favorite to

fill a number of temporary roles. One of these temporary roles was a Door Greeter/Escort,

specifically designed to be a front-line role interacting with COVID-possible individuals at North

Memorial’s Level 1 Trauma Hospital in Robbinsdale, MN. Favorite assisted North Memorial to

fill these Door Greeter/Escort roles on an urgent and weekly basis. The Door Greeter/Escort role

was initially created as a direct result of Minnesota Governor Walz’s orders and rules from the

Minnesota Department of Health regarding COVID screening and requiring active attestation of

visitors to any facility.

        On July 21, 2020, Favorite contacted North Memorial and inquired about a “candidate”

who it referred to as “hard of hearing” without mentioning the candidate by name. That individual,

now understood to be Vogt, never actually applied for any Door Greeter/Escort role. In fact, North

Memorial has no knowledge of Vogt applying for any position with it.


        20.     Ms. Vogt was interviewed by a recruiter from a recruiting firm that had advertised

the greeter position for Defendant.

        ANSWER:         North Memorial is without sufficient information to admit or deny the

allegations in paragraph 20 regarding the actions by Favorite and, therefore, denies the same.


        21.     Ms. Vogt’s interview was conducted via a video relay service with an ASL

interpreter.

        ANSWER:         North Memorial is without sufficient information to admit or deny the

allegations in paragraph 21 regarding the actions by Favorite and, therefore, denies the same.


        22.     Based on her interview, Ms. Vogt was informed that Defendant was interested in

hiring Ms. Vogt.



                                                10
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 11 of 24




       ANSWER:         North Memorial is without sufficient information to admit or deny the

allegations in paragraph 22 regarding the actions by Favorite and, therefore, denies the same.


       23.     The interviewer had authority from Defendant to hire Ms. Vogt.

       ANSWER:         North Memorial denies the allegations in paragraph 23 as stated.


       24.     After offering employment to Ms. Vogt, Defendant’s interviewer began talking

with Ms. Vogt about the employment onboarding process with Defendant.

       ANSWER:         North Memorial is without sufficient information to admit or deny the

allegations in paragraph 24 regarding the actions by Favorite and, therefore, denies the same.


       25.     During this conversation, the recruiter asked Ms. Vogt whether she was

experiencing a lag during the call.

       ANSWER:         North Memorial is without sufficient information to admit or deny the

allegations in paragraph 25 regarding the actions by Favorite and, therefore, denies the same.


       26.     Ms. Vogt informed the recruiting manager that she was deaf and/or hearing

impaired and therefore was using a video relay service with an ASL interpreter.

       ANSWER:         North Memorial is without sufficient information to admit or deny the

allegations in paragraph 26 regarding interactions between Vogt and Favorite and, therefore,

denies the same.


       27.     Notwithstanding the use of an interpreter, Ms. Vogt assured the interviewer that she

was capable of performing the greeter job functions with or without an accommodation and

provided examples of viable accommodations.




                                               11
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 12 of 24




       ANSWER:        North Memorial is without sufficient information to admit or deny the

allegations in paragraph 27 regarding interactions between Vogt and Favorite and, therefore,

denies the same.


       28.     The recruiting manager informed Ms. Vogt that she would need to discuss this with

Defendant’s hiring manager.

       ANSWER:        North Memorial is without sufficient information to admit or deny the

allegations in paragraph 28 regarding the actions by Favorite and, therefore, denies the same.


       29.     On July 21, 2020, the recruiting manager contacted Defendant’s manager who

supervised the greeter position and informed him about Ms. Vogt’s application and her disability.

       ANSWER:        North Memorial denies the allegations in paragraph 29 as stated. North

Memorial affirmatively states that on July 21, 2020, a Senior Branch Director from Favorite

emailed the Manager of Brand Culture & Education at North Memorial to inquire—without

naming Vogt or disclosing whether she had actually applied for any role—that Favorite “got a

candidate inquire [sic] from someone who is hard of hearing. She uses an app on her phone to

communicate via phone and stated that with people who have masks she uses signs to help

communicate. Would this position be something she could manage and be successful at or do you

think we would just be setting her up to fail by bringing her on? Just really looking to see if you

feel someone with a hearing impairment could be successful/meet your standards for your

greeters.” North Memorial denies any remaining allegations in paragraph 29.


       30.     The recruiting manager inquired with Defendant’s manager whether Ms. Vogt

could be hired and/or accommodated.




                                                12
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 13 of 24




        ANSWER:        The allegations in paragraph 30 are denied as stated. North Memorial was

never asked whether “Vogt could be hired and/or accommodated.”


        31.    A few days later, Defendant’s manager replied to the recruiting manager that

Defendant did not want to hire Ms. Vogt because of her disability.

        ANSWER:        North Memorial denies the allegations in paragraph 31. Vogt never applied

for a position with North Memorial. Additionally, North Memorial had no knowledge that Vogt

applied for a position with Favorite.


        32.    The recruiting manager contacted Ms. Vogt and informed her that she would not

be hired as a greeter for Defendant.

        ANSWER:        North Memorial is without sufficient information to admit or deny the

allegations in paragraph 32 regarding the actions by Favorite and, therefore, denies the same.


        33.    Defendant’s decision not to hire Ms. Vogt because of her disability deprived Ms.

Vogt of equal employment opportunities and otherwise adversely affected her status as an

employee because of her disability.

        ANSWER:        North Memorial denies the allegations in paragraph 33, including all

allegations that it made any decision because of any disability of Vogt. Vogt never applied for a

position with North Memorial. Additionally, North Memorial had no knowledge that Vogt applied

for a position with Favorite.


        34.    Defendant’s decision not to hire Ms. Vogt because of her disability was intentional

and undertaken with malice and/or reckless indifference to the federally protected rights of Ms.

Vogt.

        ANSWER:        The allegations in paragraph 34 are categorically denied.


                                               13
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 14 of 24




        35.     Defendant’s actions have caused Ms. Vogt substantial emotional distress.

        ANSWER:           The allegations in paragraph 35 are denied.


                                       CAUSES OF ACTION
                                               COUNT I

                  VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                       42 U.S.C. § 12101, et seq. (Disability Discrimination)

        36.     Plaintiff incorporates the foregoing paragraphs of her Complaint by reference.

        ANSWER:           North Memorial incorporates its responses to all foregoing paragraphs as if

fully set forth herein.


        37.     The Americans with Disabilities Act (“ADA”) provides that it is an unlawful

employment practice to “discriminate against a qualified individual on the basis of disability in

regard to the job application procedures, the hiring, advancement, or discharge of employees,

employee compensation, job training, and other terms, conditions, and privileges of employment.

42 U.S.C. § 12112(a).

        ANSWER:           The allegations in paragraph 37 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


        38.     The ADA defines a “disability” as: (A) a physical or mental impairment that

substantially limits one of more major life activities of such individual, (B) a record of such an

impairment, or (C) being regarded as having such an impairment.” 42 U.S.C. § 12101(1).

        ANSWER:           The allegations in paragraph 38 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


                                                   14
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 15 of 24




       39.    The ADA mandates the definition of disability to “be construed in favor of broad

coverage of individuals under this chapter, to the maximum extent permitted by the terms of this

chapter.” 42 U.S.C. § 12102(4)(A).

       ANSWER:        The allegations in paragraph 39 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


       40.    Major life activities under the ADA include: “hearing[.]” 42 U.S.C. 12102(2)(A).

       ANSWER:        The allegations in paragraph 40 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


       41.    Plaintiff’s deafness and/or hearing impairment constitutes a disability under the

ADA.

       ANSWER:        The allegations in paragraph 41 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied, including any awareness by North Memorial of the extent of Vogt’s

hearing ability/impairment except as stated elsewhere in this Answer.


       42.    Defendant was aware of Plaintiff’s disability.

       ANSWER:        North Memorial denies the allegations in paragraph 42 as stated. North

Memorial affirmatively alleges that it only knew from Favorite that the unnamed individual was

hard of hearing and “communicate[d] via phone and stated that with people who have masks she

uses signs to help communicate.”




                                               15
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 16 of 24




        43.     Defendant’s conduct including refusing to hire Plaintiff because of her disability

violated the ADA.

        ANSWER:           The allegations in paragraph 43 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


        44.     As a result of Defendant’s conduct in direct violation of the ADA, Plaintiff has

suffered loss of past and future income, mental anguish, emotional distress, and other damages in

amounts in excess of $75,000.

        ANSWER:           The allegations in paragraph 44 are denied.


        45.     Defendant committed the above-described acts with malice and/or in reckless

disregard of Plaintiff’s rights under the ADA. As a result thereof, Plaintiff is entitled to punitive

damages.

        ANSWER:           The allegations in paragraph 45 are categorically denied.



                                              COUNT II

                  VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                       42 U.S.C. § 12101, et seq. (Failure to Accommodate)

        46.     Plaintiff incorporates the foregoing paragraphs of her Complaint by reference.

        ANSWER:           North Memorial incorporates its responses to all foregoing paragraphs as if

fully set forth herein.


        47.     The ADA provides that discrimination includes the failure to make reasonable

accommodations for an individual’s disability. 42 U.S.C. § 12112(b)(5)(a).




                                                   16
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 17 of 24




        ANSWER:        The allegations in paragraph 47 purport to be legal conclusions that require

no affirmative response. Vogt has no legal claim against North Memorial.


        48.    Defendant was aware of Plaintiff’s disability and was obligated to engage in an

interactive process to determine whether Plaintiff needed accommodations to perform the essential

functions of the greeter position.

        ANSWER:        North Memorial denies the allegations in paragraph 48 as stated. North

Memorial affirmatively alleges that it only knew from Favorite that the unnamed individual was

hard of hearing and “communicate[d] via phone and stated that with people who have masks she

uses signs to help communicate.” Any remaining allegations, including any obligation to engage

in an interactive process, are denied.


        49.    Reasonable accommodations for Plaintiff’s disability existed.

        ANSWER:        The allegations in paragraph 49 are denied.


        50.    Defendant violated the ADA by failing to provide accommodations and/or engage

in an interactive process to determine whether Plaintiff was able to perform the essential functions

of the position with or without an accommodation.

        ANSWER:        The allegations in paragraph 50 purport to be legal conclusions that require

no affirmative response. North Memorial specifically denies that it was obligated to provide any

accommodation or engage in any interactive process under the circumstances as North Memorial

understood them at the time in July 2020, including based on the information provided to North

Memorial by Favorite, who was responsible for screening candidates for the Door Greeter/Escort

role.




                                                17
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 18 of 24




        51.     As a result of Defendant’s conduct in direct violation of the ADA, Plaintiff has

suffered loss of past and future income, mental anguish, emotional distress, and other damages in

amounts in excess of $75,000.

        ANSWER:           The allegations in paragraph 51 are denied.


        52.     Defendant committed the above-described acts with malice and/or in reckless

disregard of Plaintiff’s rights under the ADA. As a result thereof, Plaintiff is entitled to punitive

damages.

        ANSWER:           The allegations in paragraph 52 are categorically denied.


                                              COUNT III

                    VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT
                     MINN. STAT. § 363A.01, et seq. (Disability Discrimination)

        53.     Plaintiff incorporates the foregoing paragraphs of her Complaint by reference.

        ANSWER:           North Memorial incorporates its responses to all foregoing paragraphs as if

fully set forth herein.


        54.     The Minnesota Human Rights Act provides that “it is an unfair employment

practice for an employer, because of…disability…to: (1) refuse to hire…or (3) discriminate

against a person with respect to hiring, tenure, compensation, terms, upgrading, conditions,

facilities, or privileges of employment. Minn. Stat. § 363A.08 Subd. 2(1) & (3).

        ANSWER:           The allegations in paragraph 54 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.




                                                   18
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 19 of 24




       55.     A disability under Minn. Stat. § 363A.03(12) is “any condition or characteristic that

renders a person a disabled person. A disabled person is any person who (1) has a physical, sensory,

or mental impairment which materially limits one or more major life activities; (2) has a record of

such impairment; or (3) is regarded as having such an impairment.”

       ANSWER:         The allegations in paragraph 55 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


       56.     Plaintiff had a qualifying disability under the MHRA.

       ANSWER:         The allegations in paragraph 56 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


       57.     Plaintiff’s deafness and/or hearing impairment was a physical impairment that

materially limited one or more major life activities.

       ANSWER:         The allegations in paragraph 57 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied, including any awareness by North Memorial of the extent of Vogt’s

hearing ability/impairment except as stated elsewhere in this Answer.


       58.     Defendant’s conduct herein described including but not limited to refusing to hire

Plaintiff and/or terminating Plaintiff’s employment violated Minn. Stat. § 363A.08.

       ANSWER:         The allegations in paragraph 58 are denied.




                                                 19
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 20 of 24




        59.     As a result of Defendant’s conduct in direct violation of the MHRA, Plaintiff has

suffered loss of past and future income, mental anguish, emotional distress and other damages in

an amount in excess of $75,000.00 but to be determined by a jury at trial.

        ANSWER:           The allegations in paragraph 59 are categorically denied.


        60.     Defendant committed the above-alleged facts with malice, reckless disregard or

deliberate disregard for the rights and safety of Plaintiff. As a result thereof, and to the extent

necessary, Plaintiff gives notice of her intent to seek leave to add a claim for punitive damages

under the MHRA.

        ANSWER:           The allegations in paragraph 60 are categorically denied.


                                              COUNT IV

                    VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT
                     MINN. STAT. § 363A.01, et seq. (Failure to Accommodate)

        61.     Plaintiff incorporates the foregoing paragraphs of her Complaint by reference.

        ANSWER:           North Memorial incorporates its responses to all foregoing paragraphs as if

fully set forth herein.


        62.     Minnesota Statute § 363A.08, subd. 6, makes it an unfair employment practice for

an employer “not to make reasonable accommodation to the known disability of a qualified

disabled person ... unless the employer ... can demonstrate that the accommodation would impose

an undue hardship on the business.”

        ANSWER:           The allegations in paragraph 62 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.




                                                   20
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 21 of 24




       63.     Plaintiff’s deafness and/or hearing impairment constituted an impairment that

substantially and materially limited one or more major life activities and has a record of such

impairment.

       ANSWER:         The allegations in paragraph 63 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied, including any awareness by North Memorial of the extent of Vogt’s

hearing ability/impairment except as stated elsewhere in this Answer.


       64.     Defendant failed to reasonably accommodate Plaintiff’s known disability and failed

to engage Plaintiff in an interactive process to determine whether reasonable accommodations for

Plaintiff were available.

       ANSWER:         The allegations in paragraph 64 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


       65.     Defendant’s conduct described herein constituted unfair employment practices in

violation of Minn. Stat. § 363A.08, Subd. 6.

       ANSWER:         The allegations in paragraph 65 purport to be legal conclusions that require

no affirmative response. If the allegations are intended to support a legal claim against North

Memorial, they are denied.


       66.     As a result of Defendant’s conduct in direct violation of the MHRA, Plaintiff has

suffered loss of past and future income, mental anguish, emotional distress and other damages in

an amount in excess of $75,000.00.

       ANSWER:         The allegations in paragraph 66 are denied.



                                                21
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 22 of 24




       67.     Defendant committed the above-alleged facts with malice, reckless disregard or

deliberate disregard for the rights and safety of Plaintiff. As a result thereof, and to the extent

necessary, Plaintiff gives notice of her intent to seek leave to add a claim for punitive damages

under the MHRA.

       ANSWER:         The allegations in paragraph 67 are categorically denied.




                     DEFENSES AND AFFIRMATIVE DEFENSES
       North Memorial sets forth the following defenses and affirmative defenses. North

Memorial does not assume the burden of proof with respect to any matter at or which, pursuant to

law, Plaintiff-Intervenor Vogt bears the burden.

       1.      Vogt’s Complaint fails to plead, allege, or state facts sufficient to state a claim upon

which relief can be granted against North Memorial.

       2.      Vogt’s claims are barred, in whole or in part, to any extent mandatory

administrative remedies have not been exhausted or other applicable statutory prerequisites to

filing suit have not been met.

       3.      Vogt’s claims and allegations may be barred in whole or in part by the scope of

charge doctrine.

       4.      Vogt was not an applicant entitled to protection under the ADA.

       5.      Vogt is not disabled and is not a qualified person with a disability.

       6.      Vogt was unable to fulfill all essential functions of the temporary greeter position,

even assuming she had applied.

       7.      Vogt failed to fully inform North Memorial of the extent to which her hearing is

impaired.



                                                 22
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 23 of 24




       8.      Vogt’s purported claims are barred in whole or in part by the same decision defense.

       9.      Any requested/purported accommodations were unreasonable and constituted

undue hardship and/or would have resulted in or created a direct threat to the health and safety of

others. These undue hardships and direct threat defenses bar Vogt’s purported claim.

       10.     Vogt suffered no adverse employment action.

       11.     Vogt has failed to mitigate her damages, if any.

       12.     Any actions taken by North Memorial were based upon legitimate,

nondiscriminatory, and non-retaliatory reasons, and not in violation of any contract, policy, statute,

law, rule, regulation, or ordinance prohibiting discrimination based on disability or any other

protected category.

       13.     Any actions taken by North Memorial were based on legitimate business

considerations, were reasonable and undertaken in good faith, and were done without the intent to

discriminate against, injure, or harm Vogt.

       14.     Any damages sustained by Vogt, as alleged in the Intervenor Complaint, were

caused or contributed to by her own actions or inaction.

       15.     Vogt is barred from obtaining the relief sought in this action based upon the

doctrines of estoppel, waiver, laches, and/or unclean hands.

       16.     Vogt’s damages, if any, are barred, in whole or in part, by the after-acquired

evidence doctrine.

       17.     Vogt’s claims for relief, to the extent they state a claim, are subject to any applicable

damages caps or limitations.

       18.     North Memorial asserts that it may have further and additional affirmative defenses,

the nature of which cannot be determined until it has had an opportunity to engage in discovery.




                                                 23
        CASE 0:22-cv-00777-NEB-TNL Doc. 25 Filed 07/28/22 Page 24 of 24




North Memorial therefore incorporates any and all affirmative defenses and reserves the right to

assert additional affirmative defenses as discovery progresses.

       19.     As Vogt asserts claims under the Minnesota Human Rights Act, North Memorial

will seek an award of fees pursuant to Minn. Stat. § 363A.33 subd. 7 as the prevailing party.

       WHEREFORE, North Memorial demands judgment against Plaintiff-Intervenor as

follows:

       1.      Dismissal of the Intervenor Complaint with prejudice and on the merits;

       2.      Awarding North Memorial its costs and attorneys’ fees incurred herein; and

       3.      For such other and further relief as the Court deems just and equitable.



 Dated: July 28, 2022                                FREDRIKSON & BYRON, P.A.

                                                     /s/ Kendra D. Simmons
                                                     Brian T. Benkstein
                                                     Kendra D. Simmons
                                                     FREDRIKSON & BYRON, P.A.
                                                     200 South Sixth Street, Suite 4000
                                                     Minneapolis, MN 55402-1425
                                                     Telephone: 612.492.7000
                                                     bbenkstein@fredlaw.com
                                                     ksimmons@fredlaw.com

                                                     Attorneys for Defendant




                                                24
